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                      UN ITED STATES D ISTRICT CO URT FOR THE
                           SO U THERN D ISTRICT OF FLO RIDA
                                     M iam iDivision

                           C ase N um ber:16-60583-CIV -M O R EN O

KELLY BARTLETT,

              Plaintiff,


N A V IEN T SO LU TION S,N AV IEN T
CO RPORA TION and STU D EN T
A SSISTAN CE C ORPOR ATION ,,

              Defendants.


                  FINAL ORDER O F DISM ISSA L W ITH O UT PREJUDICE

       THIS CAUSE cam e before the Courtupon Plaintiffs M otion for Voluntary Dismissal

W ithoutPrejudice(D.E.26),filedonAuzust2.2016.
       THE COURT hasconsidered the notice,thepertinentportionsoftherecord,andis

otherwisefully advised in theprem ises.Itis

       ORDERED AND ADJUDGED thatthisCauseisDISM ISSED withoutprejudice,with
eachpartybearingitsownfeesandcosts.Fed.R.Civ.P.41(a)(1)(A)(ii).
                                                                              é-
       DO N E A N D O R DER ED in Cham bers atM iam i,Florida,this          ofA ugust2016.



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                                              FED      O A .M O REN O
                                              ,     ED STA TES DISTR ICT JU DG E

Copiesfurnished to:

CounselofRecord
